USCA Case #23-3190   Document #2027864       Filed: 11/20/2023   Page 1 of 5




      ORAL ARGUMENT SCHEDULED FOR NOV. 20, 2023

                             No. 23-3190



      In the United States Court of Appeals
             for the District of Columbia Circuit


                     UNITED STATES OF AMERICA,

                                                            Appellee,

                                  v.

                          DONALD J. TRUMP,

                                             Defendant-Appellant.


                  On Appeal from the United States
              District Court for the District of Columbia
              Case No. 23-cr-00257 (Chutkan, U.S.D.J.)


     Motion of Jeremy Bates for Leave To File Brief as
 Amicus Curiae in Support of the United States and Dismissal


                                   Jeremy Bates
                                   21 West Street Apt. 21J
                                   New York, New York 10006
                                   917-626-2473
                                   jeremybates3@gmail.com
November 19, 2023                  Amicus Curiae pro Se
USCA Case #23-3190    Document #2027864        Filed: 11/20/2023   Page 2 of 5



     Jeremy Bates, an attorney admitted to practice in New York,

respectfully moves pro se for leave to file a brief amicus curiae in

support of the United States and dismissal.

     In support of the motion, Bates respectfully states:

     I am filing this motion and proposed brief as soon as practicable

given the accelerated schedule for this appeal; given the filing of the

brief of the United States on Wednesday, November 16, 2023; and given

my limited personal time and resources.

     The scheduling order did not specify any time to file amicus briefs.

This motion and brief are filed within the time set by FRAP 29(a)(6).

     Defendant Trump’s counsel has informed me that “Appellant

consents to the filing of amicus briefs.” The Office of Special Counsel

has informed me that the United States “defers to the Court.”

     As for Circuit Rule 29(d), I am not aware of any other amicus brief

proposed to be filed in support of the United States.

     As described more fully in the proposed brief, I have four interests

here. Like most citizens, I trust that our courts will administer justice,

promote tranquility, and defend the Constitution. Like 81 million other

Americans who voted for Joseph Biden to be president, I am a victim of



                                     1
USCA Case #23-3190    Document #2027864       Filed: 11/20/2023   Page 3 of 5



the charged conspiracy to deprive citizens of our right to vote and to

have our votes counted. Like many attorneys, I have an interest in

courts of equity declining to abet iniquity. And as a citizen-taxpayer,

I sued Defendant Trump, derivatively on behalf of the United States,

for breach of fiduciary duty to the United States as its president,

including with respect to the January 6 attack on Congress.

     For these reasons, I have a unique perspective on Defendant’s

misconduct and its implications for this appeal.

     This perspective is why the proposed brief raises an issue that the

parties have overlooked—whether Defendant Trump comes to equity

with unclean hands and therefore should be denied all relief.

     I respectfully request that this motion be granted.

                                        Respectfully submitted,

                                        s/ Jeremy Bates

                                        Jeremy Bates
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Dated: November 19, 2023




                                    2
USCA Case #23-3190   Document #2027864       Filed: 11/20/2023   Page 4 of 5



                     Certificate of Compliance

     I hereby certify that this motion complies with the word limits of

FRAP 29(a)(5) and 32(a)(7)(B)(i) because it contains 333 words.

     This motion complies with the typeface and type-style

requirements of FRAP 29(a)(4), FRAP 32(a)(5)(A), and FRAP 32(a)(6)

because it was prepared using Microsoft Word software and a

proportionally-based typeface—namely, 14-point Century Schoolbook.

                                          s/ Jeremy Bates
                                          Jeremy Bates

Dated: New York, New York
Dated: November 19, 2023




                                   3
USCA Case #23-3190    Document #2027864      Filed: 11/20/2023   Page 5 of 5




                        Certificate of Service

     I hereby certify that all counsel of record who have consented to

electronic service are being served today with a copy of this document

via the Court’s ECF system. To my knowledge, all parties in this case

are represented by counsel consenting to electronic service.

                                           s/ Jeremy Bates
                                           Jeremy Bates

Dated: New York, New York
Dated: November 20, 2023




                                    4
